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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 SGCI HOLDINGS III LLC AND
 SOOHYUNG KIM,

                       Plaintiffs,
                                                 Case No. 24-1204-RC
               v.

 FEDERAL COMMUNICATIONS
 COMMISSION; JESSICA ROSENWORCEL,
 in her official capacity as Chairwoman of the
 FCC; HOLLY SAURER, in her official
 capacity as Chief of the Media Bureau; THE
 ALLEN MEDIA GROUP, INC. f/k/a
 Entertainment Studios, Inc.; DISH
 NETWORK CORPORATION; THE
 GOODFRIEND GROUP, INC.; THE
 NEWSGUILD-CWA; NATIONAL
 ASSOCIATION OF BROADCAST
 EMPLOYEES AND TECHNICIANS-CWA;
 UNITED CHURCH OF CHRIST, OC INC.,
 d/b/a United Church of Christ Media Justice
 Ministry; COMMON CAUSE; BYRON
 ALLEN; CHARLES ERGEN; and DAVID
 GOODFRIEND,

                       Defendants.


               MOTION FOR RULE 11 SANCTIONS BY DEFENDANTS
              DISH NETWORK CORPORATION AND CHARLES ERGEN

       Defendants DISH Network Corporation and Charles Ergen, by and through their

undersigned counsel, hereby move this Court, pursuant to Fed. R. Civ. P. 11, to impose monetary

sanctions against Plaintiffs SGCI Holdings III LLC and Soohyung Kim and their counsel. This

Motion is supported by the accompanying Statement of Points and Authorities in Support of the

Motion for Rule 11 Sanctions By Defendants DISH Network Corporation and Charles Ergen.
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Dated: August 30, 2024 [service date]      Respectfully submitted,

                                           STEPTOE LLP

                                              By: s/ Elyse D. Echtman
                                                  Elyse D. Echtman
                                                  D.D.C. Bar No. NY0583
                                                  1114 Avenue of the Americas
                                                  New York, New York 10036
                                                  (212) 378-7551
                                                  eechtman@steptoe.com
                                                  Counsel for Defendants DISH Network
                                                  Corporation and Charles Ergen




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